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                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA




LINDA PETRULIO
Chester Springs, PA                               CIVIL ACTION NO.

                            Plaintiff,

              v.
TELEFLEXINCORPORATED
155 South Limerick Road
Limerick, PA 19468                                JURY TRIAL DEMANDED

       and

TELEFLEX MEDICAL
INCORPORATED
155 South Limerick Road
Limerick, PA 19468

                            Defendants. :


                                    COMPLAINT

I.     INTRODUCTION

       Plaintiff, Linda Petrulio, brings this action against her former employers,

Teleflex Incorporated and Teleflex Medical Incorporated (together "Defendants").

During her employment with Defendants, Plaintiff was discriminated against

because of her sex, and retaliated against based on her complaints about the

same, in violation of Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. §2000e, et seq. (''Title VII") and the Pennsylvania Human Relations Act,

as amended, 43 P.S. §951, et seq. ("PHRA").
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II.    PARTIES

       1.     Plaintiff, Linda Petrulio, is an individual and a citizen of the

Commonwealth of Pennsylvania.

       2.     Plaintiff is female.

       3.     Defendant, Teleflex Incorporated ("Defendant Teleflex"), is a

Delaware corporation with a principal place of business at 155 South Limerick

Road, Limerick, PA 19468.

       4.     Defendant, Teleflex Medical Incorporated ("Defendant Teleflex

Medical"), is a California corporation with a principal place of business at 155

South Limerick Road, Limerick, PA 19468.

       5.     Defendants are engaged in an industry affecting interstate

commerce and regularly do business in the Commonwealth of Pennsylvania.

       6.     Defendant Teleflex controls and directs certain of Defendant

Teleflex Medical's day-to-day business operations and personnel decisions.

       7.     At all times material hereto, Defendants employed more than fifteen

(15) employees.

       8.     At all times material hereto, Defendants acted by and through their

authorized agents, servants, workmen, and/or employees acting within the

course and scope of their employment with Defendants and in furtherance of

Defendants' business.

      9.     At all times material hereto, Defendants acted as employers within

the meaning of the statutes which form the basis of this matter.

       10.   At all times material hereto, Plaintiff was an employee of




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Defendants within the meaning of the statutes which form the basis of this

matter.

III.      JURISDICTION AND VENUE

          11.   The causes of action which form the basis of this matter arise under

Title VII and the PHRA.

          12.   The District Court has jurisdiction over Count I (Title VII) pursuant

to 42 U.S.C. §2000e-5 and 28 U.S.C. §1331.

          13.   The District Court has supplemental jurisdiction over Count II

(PHRA) pursuant to 28 U.S.C. §1367.

          14.   Venue is proper in the District Court under 28 U.S.C. §1391 (b) and

42 U.S.C. §2000(e)-5(f).

          15.   On or about December 22, 2011, Plaintiff filed a Charge of

Discrimination with the Equal Employment Opportunity Commission ("EEOC"),

complaining of acts of discrimination and retaliation alleged herein. This Charge

was cross-filed with the Pennsylvania Human Relations Commission ("PHRC").

Attached hereto, incorporated herein and marked as Exhibit "1" is a true and

correct copy of the EEOC Charge of Discrimination (with personal identifying

information redacted).

          16.   On or about November 1,2012, the EEOC issued to Plaintiff a

Notice of Right to Sue for her Charge of Discrimination. Attached hereto,

incorporated herein and marked as Exhibit "2" is a true and correct copy of the

Notice (with personal identifying information redacted).

          17.   Plaintiff has fully complied with all administrative prerequisites for




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the commencement of this action.

IV.     FACTUAL ALLEGATIONS

        18.   On or about September 20, 2004, Plaintiff was hired by

Defendants.

        19.   In or around December 2007, Defendants sold their (Automotive)

division in which Plaintiff worked. As the Global Vice President of Human

Resources of that division and a key member of the leadership team who

reported to the President of the division, Plaintiff went with the sale.

        20.   Starting in or about February 2009, Plaintiff returned to Defendants

as the Human Resources Director for Global Operations for Defendants' Medical

Division.

        21.   Upon Plaintiff's return, she reported to the Executive Vice

President of Global Operations (male) ("Executive Vice President").        Executive

Vice President reported directly to Jeffrey Black (male), Chief Executive Officer

("CEO"). Benson Smith (male) replaced Mr. Black as CEO in or about January

2011.

        22.   At all times material hereto, Plaintiff performed her duties in a highly

competent manner.

        23.   During her employment, Plaintiff was subjected to discriminatory

comments and conduct because of her sex, including but not limited to, the

following:

              (a)    Out of Executive Vice President's direct reports, Plaintiff was

the only female and the only one who did not have the title of Vice President;




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              (b)    Executive Vice President grabbed Plaintiff's breasts;

              (c)    Executive Vice President grabbed Plaintiff's buttocks;

              (d)    Executive Vice President brushed up against Plaintiff so that

he touched her breasts;

              (e)    Executive Vice President brushed up against Plaintiff so that

he touched her buttocks;

              (f)    Executive Vice President came into Plaintiff's office, shut the

door and then unbuttoned and unzipped his pants;

              (g)    When Plaintiff met Executive Vice President in his new office

location, he asked her if she wanted to be "the first one to give me a blow job in

my new office";

              (h)    Executive Vice President told Plaintiff how good her breasts

looked, and asked her if she was wearing a push-up bra;

              (i)    Executive Vice President asked Plaintiff, "what happened to

your tits";

              U)     Executive Vice President told Plaintiff that, "I would do you";

              (k)    Executive Vice President told Plaintiff that, "I bet you're good

in bed";

              (I)   When Executive Vice President and Plaintiff were discussing

a possible meeting with an employee, Plaintiff asked Executive Vice President if

he wanted her to come with him to the meeting. Executive Vice President

responded, "only if you fuck me";

              (m)   When Plaintiff asked Executive Vice President if he had met




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a new female manager, his response was that, "I wouldn't let her give me a blow

job";

               (n)    Executive Vice President sent an email including a list of

those employees, including his direct reports, who were participating in an off-site

meeting, but he excluded Plaintiff from the list. When Plaintiff informed Executive

Vice President of the same, he insinuated that she would be staying with him at

the hotel by responding, "cos my favorite HR lady is staying with me";

               (0)    When a colleague forwarded a picture of his college-aged

son celebrating Mardi Gras in New Orleans, Executive Vice President responded

that, "if each set of beads represents getting laid at Mardi Gras, it was a good

investment';

               (p)    Executive Vice President sent Plaintiff a picture of black

stiletto shoes and told her that she needed to buy those shoes if she wanted to

"be a real player"; and,

               (q)    Upon information and belief, Executive Vice President was

engaged in sexually harassing conduct with other female employees of

Defendants, and Defendants were aware of the same.

        24.    In or around May 2010, Plaintiff complained to Carrie Watt,

Associate General Counsel and member of Defendants' Compliance Committee,

regarding the sex discriminatory conduct to which she was being subjected.         Ms.

Watt told Plaintiff to keep a "what-the-fuck" file.

        25.    On or about June 14, 2010, Plaintiff and Executive Vice President

were at a meeting in Las Vegas. During the course of the evening, Executive




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Vice President repeatedly pressured Plaintiff to go to dinner with him, including,

but not limited to, calling her several times on her cell phone and on her hotel

room phone up until late that night. Because of Executive Vice President's

sexually harassing conduct towards Plaintiff, she was not comfortable having

dinner alone with him and she declined his invitation.

       26.     Upon information and belief, shortly after the Las Vegas trip,

Executive Vice President told the Global Vice President of Human Resources, for

the first time, that he wanted to terminate Plaintiff.

       27.     On or about July 15, 2010, Plaintiff had her mid-year review

meeting with Executive Vice President. During the meeting, Executive Vice

President told Plaintiff that she would no longer have global responsibility and

that she would only be responsible for North American operations.

       28.     At that time, Executive Vice President also told Plaintiff that she

would be reporting directly to Tim Lipp (male), Vice President, North American

Operations, instead of Executive Vice President. Up until that time, Mr. Lipp,

who reported directly to Executive Vice President, was on the same

organizational level as Plaintiff.

       29.     Defendants failed to provide any reason to Plaintiff as to why she

was demoted.

       30.     Shortly after Plaintiff began reporting directly to Mr. Lipp, he started

unjustly criticizing her and scrutinizing her performance, including questioning her

regarding issues that had already been resolved.

       31.     On or about January 31, 2011, Plaintiff filed a complaint with




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Defendants' Ethics Hotline regarding the sexual harassment to which she was

being subjected.

      32.    On the same day that Plaintiff filed a complaint through Defendants'

Ethics Hotline, she informed Ms. Watt of the same.

      33.     Later on the same day that Plaintiff filed her complaint with the

Ethics Hotline, Mr. Lipp gave her a write-up regarding a "performance

improvement discussion."     It was the first time that Plaintiff received a write-up

regarding her performance during her employment with Defendants.

      34.    Upon information and belief, Executive Vice President was

interviewed regarding Plaintiff's complaint on or about February 15, 2011. He

resigned on that same day.

      35.    Ms. Watt informed Plaintiff that Defendants did not have to take any

action regarding her complaints because Executive Vice President resigned.

      36.    On or about March 4, 2011, Plaintiff applied for the open position of

Global Vice President of Human Resources and expressed her interest in the

same to Mr. Smith. When she did not receive any response, Plaintiff followed up

with Mr. Smith regarding the open position on or about May 12, 2011.

      37.    Shortly after Plaintiff followed up with Mr. Smith regarding her

application for the open position, she was informed that she was not going to be

interviewed for the position and that Defendants were selecting an outside

candidate for the same.

      38.    On or about May 31,2011, Melissa Manion, an external hire,

started as the Global Vice President of Human Resources.         Plaintiff began




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reporting directly to Ms. Manion.

       39.      On or about June 1, 2011, Plaintiff had her first meeting with Ms.

Manion. During that meeting, Ms. Manion told Plaintiff that she was aware of

Plaintiff's sexual harassment complaint.

       40.      During July and August 2011, certain of Defendants' Human

Resources employees had to re-interview for their jobs due to the reorganization

of the group.

       41.      Plaintiff interviewed for her current role, that of Human Resources

Director of North America Operations.      She also interviewed for the position of

the Human Resources Director of Global Functions, which she had held

previously during her employment.

       42.      On or about December 12, 2011, Plaintiff was told that Defendants

had selected an external candidate for the position of Human Resources Director

of Global Functions. That individual was less qualified for the position than

Plaintiff. Defendants did not inform Plaintiff of the reason why they failed to

select her for the position.

       43.      On that same day, Defendants terminated Plaintiff's employment.

She was told that the reason for the same was that Defendants needed someone

who would be more "forward-thinking" and strategic.

       44.      Plaintiff was never informed of the reason why she was not

selected for the position of Human Resources Director for North America

Operations, the position that she held at the time of her termination, after her

interview for the same.




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       45.     Defendants' asserted reason for terminating Plaintiff is pretextual.

       46.     Plaintiff's sex was a motivating and/or determinative factor in

Defendants' discriminatory treatment of Plaintiff, including the hostile work

environment to which Plaintiff was subjected, Defendants' demotion of Plaintiff

and the termination of Plaintiff.

       47.     Plaintiff's complaining of discrimination was a motivating and/or

determinative factor in Defendants' retaliatory treatment of Plaintiff, including the

hostile work environment to which Plaintiff was subjected, Defendants' demotion

of Plaintiff, Defendants' failure to select Plaintiff for the positions of Global Vice

President of Human Resources, Human Resources Director for Global

Functions, and Human Resources Director for North America Operations, and

the termination of Plaintiff.

       48.     Defendants failed to prevent or address the discriminatory and

retaliatory conduct referred to herein and further failed to take corrective and

remedial measures to make the workplace free of discriminatory and retaliatory

conduct.

       49.     The retaliatory actions taken against Plaintiff after she complained

of discriminatory conduct would have discouraged a reasonable employee from

complaining of discrimination.

       50.     The discriminatory and retaliatory conduct of Defendants, as

alleged herein, was severe and/or pervasive enough to make a reasonable

person believe that the conditions of employment had been altered and that a




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hostile work environment existed, and made Plaintiff believe that the conditions

of employment had been altered and that a hostile work environment existed.

       51.     As a direct and proximate result of the discriminatory and retaliatory

conduct of Defendants, Plaintiff has in the past incurred, and may in the future

incur, a loss of earnings and/or earning capacity, loss of benefits, pain and

suffering, embarrassment, humiliation, loss of self-esteem, mental anguish, and

loss of life's pleasures, the full extent of which is not known at this time.

       52.     Defendants acted with malice and/or reckless indifference to

Plaintiff's protected rights.

       53.     The conduct of Defendants, as set forth above, was outrageous

under the circumstances and warrants the imposition of punitive damages

against Defendants.

                                  COUNT I - Title VII

       54.     Plaintiff incorporates herein by reference paragraphs 1 through 53

above, as if set forth herein in their entirety.

       55.     By committing the foregoing acts of discrimination and retaliation

against Plaintiff, Defendants have violated Title VII.

       56.     Said violations were intentional and warrant the imposition of

punitive damages.

       57.     As a direct and proximate result of Defendants' violation of Title VII,

Plaintiff has suffered the damages and losses set forth herein and has incurred

attorneys' fees and costs.




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          58.   Plaintiff is now suffering and will continue to suffer irreparable injury

and monetary damages as a result of Defendants' discriminatory and retaliatory

acts unless and until this Court grants the relief requested herein.

          59.   No previous application has been made for the relief requested

herein.

                                   COUNT II - PHRA

          60.   Plaintiff incorporates herein by reference paragraphs 1 through 59

above, as if set forth herein in their entirety.

          61.   Defendants, by the above improper and discriminatory and

retaliatory acts, have violated the PHRA.

          62.   Said violations were intentional and willful.

          63.   As a direct and proximate result of Defendants' violation of the

PHRA, Plaintiff has sustained the injuries, damages, and losses set forth herein

and has incurred attorney's fees and costs.

          64.   Plaintiff is now suffering and will continue to suffer irreparable

injuries and monetary damages as a result of Defendants' discriminatory and

retaliatory acts unless and until the Court grants the relief requested herein.

          65.   No previous application has been made for the relief requested

herein.




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                                         RELIEF

          WHEREFORE, Plaintiff seeks damages and legal and equitable relief in

connection with Defendants' improper conduct, and specifically prays that the

Court grant the following relief to the Plaintiff by:

                (a)     declaring the acts and practices complained of herein to be

in violation of Title VII;

                (b)     declaring the acts and practices complained of herein to be

in violation of the PHRA;

                (c)     enjoining and permanently restraining the violations alleged

herein;

                (d)     entering judgment against the Defendants and in favor of the

Plaintiff in an amount to be determined;

                (e)     awarding compensatory damages to make the Plaintiff whole

for all lost earnings, earning capacity and benefits, past and future, which Plaintiff

has suffered or may suffer as a result of Defendants' improper conduct;

                (f)     awarding compensatory damages to Plaintiff for past and

future pain and suffering, emotional upset, mental anguish, humiliation, and loss

of life's pleasures, which Plaintiff has suffered or may suffer as a result of

Defendants' improper conduct;

                (g)     awarding punitive damages to Plaintiff under Title VII;

                (h)     awarding Plaintiff such other damages as are appropriate

under Title VII and the PHRA;




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              (i)     awarding Plaintiff the costs of suit, expert fees and other

disbursements, and reasonable attorney's fees; and;

              U)      granting such other and further relief as this Court may deem

just, proper, or equitable including other equitable and injunctive relief providing

restitution for past violations and preventing future violations.




                                            CONSOLE LAW OFFICES LLC




Dated:   12/26/12                   BY:
                                            Stephen G. Conso (36656)
                                            Caren N. Gurman in (205900)
                                            1525 Locust St., 9th Floor
                                            Philadelphia, PA 19102
                                            (215) 545-7676
                                            (215) 545-8211 (fax)

                                           Attorneys for Plaintiff,
                                           Linda Petrulio




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           Exhibit 1
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                                                                                                           AGENCY                         CHARGE NUMBER
                                     CHAHGE      OF DISCRIMINATION
                                                                                                              FEPA
This form is affected by the Privacy Act of 1974; See privacy statement                         before     x EEOC
consolidating           this     fOl111.
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                        STATE OR LOCAL AGENCY:                           PHRC
                                                                                            HOME TELEPHONE            NUMBER         (Include Area Code)
    NAME (Indicate Mr., Ms., Mrs.)




                                                                                                                                -
    Linda Petrullo
                                                               CITY, STATE AND ZIP                                              DATE OF BIRTH
    STREET           ADDRESS
                                                           Chester Springs, PA 19425

    NAMED IS THE EMPLOYER,   LABOR ORGANIZATION,                                           EMPLOYMENT    AGENCY, APPRENTICESHIP,                                         COMMITTEE,
    STATE OF LOCAL GOVERNMENT   WHO DISCRIMINATED                                          AGAINST ME (If more than one than list below)

                                                                       NUMBER OF EMPLOYEES,                       TELEPHONE               (Include Area Codc)
    NAME
                                                                       MEMBERS                                        610-948-5100
    Telellex         Iucorpo ruted
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                                                                                  11,000                                                                ..
                                                                                                                                                        ..,
                                                                                                                                                              '"
                                                                                                                                                                   ..
                                                                CITY, STATE AND ZIP                                             COUNTY
I   STREET           ADDRESS                                                                                                                              \
                                                                                                                                Montgomery                     ..·•..1

     iSS South Limerick                Road                     Limerick,    PA   19468                                                                            ..


                                                                                                           DATE DISCRIMINATION                   TOm~'PI.ACE
     CAUSE OF DISCRlMINATION          (Check appropriate box(cs))
                                                                                                                                               12(12/2011 !
     Race   Color     xx Sex   Religion      National Origin
                                                                                                           Earliest                             Latest
       XX Retaliatiou      Age    Disability    Other (Specify)

                                                                                                            Continuing        Violation                                     .'
                                                                                                                                                                                  -
                                                                                                                                                                                 ....


     THE PARTICULARS ARE:

     A.              1. Relevant Work History

     I was hired by Respondent on September 20,2004 and advanced through various Human Resource
     positions. My last position was Global Vice President of Human Resources ("HR") of the Automotive
     Division. This Division was sold to Kongsberg Automotive in December, 2007 and, as a key member
     of the leadership team reporting to the President, I went with the sale. I was rehired by Respondent's
     Medical Division on February 27, 2009 as the HR Director for Global Operations with HR
     responsibility for sixteen (16) manufacturing and distribution sites globally. Beginning at that time, I
                                     , Executive Vice President of Global Operations, who reported to Jeffrey
     reported to
      Black, CEO of Respondent. There were three other individuals who reported to Mr. _.                Tim
      Lipp, Vice President, North America Operations; Geoffrey Hills, Global Vice President, Procurement;
      and Tony Kennedy, Vice President, Operations, Europe, Middle East, and Africa ("EMEA"). I had
      three direct reports, who included: Lisa Rhodes, HR Generalist; Abigail Tomer, HR Generalist in RTP
      Distribution Center; and, as of approximately July 2010, Brandy Boylan, HR Generalist in the Dallas
      Distribution Center.

                                                                                                                                                                        State           and    Local
      ~l want this charge filed with both the EEOC and the State or local                           NOTARY        -     (when      necessary      for
                                                                                                    Requirements)
      Agency, if any. I will advise the agencies if I change my address or                                                                                                                ..
      telephone number and cooperate fu Ily with them in the processing of                                                -
                                                                                                    I swear of affirrn that I ha ve read the above charge and that it
      my charge ill accordance.with
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                                                          procedures
                                                                                                    is true to the best of my knowledge information and belief.

      I declare under penalty or perjury that the foregoing is true and correct.                     I
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x
                                           SIGNATURE OF COMFLAINANT

              Charging Party (Signature)   SUBSCRlBED    AND SWORN   TO BEFORE ME THIS DATE
Date:
                                           (Day Month, and year)
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In July 2010, I was demoted and from July, 2010, until May, 2011, I reported to Mr. Lipp.
At the end of May, I started reporting to Melissa Manion, who was hired by Respondent
on or around May 31, 2011 as Global Vice President of HR for Respondent. Ms.
 Manion reports to Laurence Miller, Executive Vice President and General Counsel for
 Respondent. Mr. Miller reports to Benson Smith, who replaced Mr. Black as CEO of
 Respondent on or about January 31,2011. On December 12, 2011, I was notified that I
 was being terminated from the company, effective January 1, 2012.

Throughout my seven years of employment with Respondent, I have been a loyal,
dedicated and hard-working employee. In my yearly performance reviews I consistently
received positive evaluations.  Every year I worked for Respondent, I received annual
merit increases. I also received yearly bonuses and restricted stock in both 2010 and
2011. The Restricted Stock is part of the Respondent's Long Term Incentive Plan.


 2.     Harm Summary

        I believe that I was subjected to sex discrimination by Respondent, including
        being subject to a hostile work environment, failure to promote, demotion, and
        retaliation for complaining of the same. Evidence of discriminatory conduct
        includes, but is not limited to, the following:

        a. Mr. _           repeatedly brushed up against my breasts and my buttocks. Mr.
           _           also grabbed both my buttocks and breasts numerous times;

         b. Mr._repeatedly                    made comments about my body, including, but not
            limited to the following:

                        i.         In an email datedAugust26.2009.Mr._told             me that a
                                   fellow male employee of Respondent thought I had "put on
                                   weight";

                        ii.        Referencing how "good" my breasts were looking and if I were
                                   wearing a push up bra;

                        III.       Asking me "what haopened to your tits?"; and,

                        iv.        Telling me "you have a line across your butt."

          c. Other comments             Mr.           made to me during the time that I reported to
             him included, but are not limited to the following:

                              l.     "1 would do you," meaning that he would have sex with me;
                                    and,

                             II.    "I bet you're good in bed."
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d. Mr. _repeatedly             sent me emails with sexual references, including,
   but not limited to the following:

                   i. On April 7, 2010, Mr. _            sent an email in reference to an
                      offsite meeting, with details including participants. When I
                      responded that he had forgotten to include me, he replied by
                      insinuating that I would be staying with him at the hotel ("cos my
                      favorite HR Lady is staying with me") [sic]. and

                   ii. On May 8,2010, Mr. _sent              me an email stating "these
                       are the shoes I was telling you about that you need to buy if you
                       want to be a real player" with an attached picture of a high



                                                            _'s
                       stiletto heel.

e. In late Spring, 2010, I spoke to Carrie Watt, Associate General Counsel and
   member of the Compliance Committee, about Mr.                  inappropriate
   conduct. In response, Ms. Watt suggested that I keep a "what-the-tuck-tile."

f.        On or about June 9, 2010, Mr. _came           into my office, unbuttoned and
          unzipped his pants, showing his underwear, and made a sexual comment. I
          told Mr. _that        he was acting inappropriately and to stop.        .

 g. On or about June 9,2010, Mr._was              in my office on a conference
    call with David Suchy, Strategic Development. The three of us were
    discussing meeting an employee in Singapore. As Mr. _and               I were
    going to be traveling through Singapore for work in early October, 2010, I
    mouthed to Mr. _           "do you want me to come with you to meet him?"
    His response was "only if you fuck me."

 h. On or about June 10,2010, M'. Suchy and I were talking about how the
    conference call went the previous day. Mr. Suchy commented that the call
    was "frustrating. He [Mr,         I broke every EEO law during that
    meeting."

 i        On June 14, 2010, Mr._invited                me to dinner via email at a meeting
          in Las Vegas. The email stated, in pari, "I would love the honor of taking you
          to dinner this evening .... " I did not want to go to dinner and suggested drinks
          instead. Mr. _then               repeatedly emailed me regarding dinner. He also
          called me that evening no fewer than ten (10) times on my cell phone and on
          my hotel room until eleven p.m., pressuring me to go to dinner. I declined his
           invitation, Due to his pervasive sexual conduct toward me, I interpreted his
           invitation as propositioning me to sleep with him.

     j.    Based on information and below, after Mr. _returned            to work from
           the Las Vegas meeting, Mr. _spoke             with Sean O'Neill, former Global
           Vice President of HR, and expressed his desire to terminate me immediately.
           This is in contrast to early 2010, when there was a request from the Board of
            Directors to change my reporting relationship from Mr.            to another
           employee of Respondent. Mr. _even               went to Mr. Black, the then-
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      CEO of Respondent,         to ensure that he would continue to be my direct
          supervisor.

k. On or about July 15,          2010, Mr. _informed            me that I was being
   demoted and I would            no longer have global HR responsibility; I now only had
   HR responsibility for         North America ~ns.         At this time, I started
   reporting to Mr. Lipp         instead of Mr. __       . Until this point, Mr. Lipp had
          been one of my peers.

I.        Despite the change in report, Mr. _continued             to sexually harass me.

m. On or about July 29, 2010, Mr. _                   commented   on my breasts and
          buttocks.

n. That same day, when I asked Mr. _       if he had met the new
   Continuous Improvement Manager in our Asheboro plant, he responded:                "I
           wouldn't let her give me a blow job."

 o. On or about October 20, 2010, Mr.             , upon showing me his new
    office, stated to me: "How would you like to be the first one to give me a blow
           job in my new office?"                                                     .

 p. My repeated requests for Mr. _                   to stop engaging   in sexual




                                 _s
           harassment    were denied.

 q. I know of at least two other female employees of Respondent who spoke to
    me about how Mr.                behavior and comments "cross the line" of
           what is acceptable.

     r.     Kevin Gordon, former CFO of Respondent, conducted an investigation into
            allegations that Mr. _was         having an inappropriate relationship with
            another female executive and that the investigation showed that this
            allegation was substantiated. He further informed Mr. Black, the CEO, who
            then moved the female employee to a corporate position in the same office.
            No other actions were taken.

     s. Shortly after I began reporting to Mr. Lipp, a close friend of, and former direct
        report to Mr. _,         Mr. Lipp started complaining about baseless issues,
        including my travel schedule which had been already agreed upon.

     t.      On or about January 31,2011, I filed a complaint about Mr._'S
             sexual harassment with Respondent's Ethics Hotline, pursuant to
             Respondent's policy regarding reporting sexual harassment.

      u. The morning I filed the complaint through the company's Ethics Hotline, I
         advised Ms. Watt that I had just filed an ethics complaint about Mr.
         _'s         sexual harassment of me. She expressed her approval, as she
         had previously advised me to begin keep records of Mr. _'s
             inappropriate   conduct and behavior.
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     v. That same day, I received a written notification from Mr. Lipp regarding
        perceived performance concerns.

     w. On or about Fe~2011,            Steven Sutton, an outside attorney,
        interviewed Mr. __        in connection with my ethics complaint. That same
        day, Mr. _         tendered his resignation from Respondent.

     x. After Mr. _        tendered his resignation, I heard nothing more regarding
        my allegedly poor performance from Mr. Lipp.

     y. On or about March 4, 2011 I applied to the CEO, Benson Smith, for the open
        position of Global Vice President of Human Resources. I was an excellent,
        qualified candidate for the position. I did not hear anything, and foilowed up
        on May 12, 2011. Shortly after that, I was advised by Mr. Miller that I was not
        going to be interviewed for this position and that Respondent was selecting
        an outside candidate.

      z. On or about May 31,2011, Melissa Manion was hired for the Global Vice
         President of Human Resources position and I began reporting to her.




         -.
      aa. On or about June 1, 2011, when I first met with Ms. Manion, she told me that
          she had been advised by Mr. Miller about my ethics complaint against Mr.


      bb. Toward the end of July and the beginning of August, the HR Senior
          Leadership team was discussing reorganization and every Senior HR
          employee had to re-interview for roles. In August, I re-interviewed for my
          current position and also interviewed for the HR Global Functions role. Ms.
          Manion told me that the latter was the most likely job for me as I had already
          maintained this role in 2005 and I was already working out of Limerick, where
          the HR Global Functions job was located.

      cc. On Friday, December 9, 2011, I received an email from Ms. Manion
          scheduling a meeting between Ms. Manion and me the following Monday,
          December 12, 2011.

       dd.1 found out Monday, December 12,2011, that Ms. Manion hired Jill Schadler,
          someone from outside the company with less experience than I had, for the
          HR Global Functions position.

       ee.When I met with Ms. Manion on December 12,2011, she advised me of my
          termination.

B.            1.     Respondent's Stated Reasons

                            a) Respondent has not offered any explanation as to why I
                               was sexually harassed and placed in a hostile work
                               environment because of my sex;
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                       b) Respondent has not offered any explanation as to why I
                          was demoted after declining the sexual advances of my
                               supervisor;

                          c) Respondent has not offered any explanation as why I
                             was not promoted to Global Vice President of Human
                             Relations, a position given to Melissa Manion, an outside
                               hire;

                          d) Respondent has not offered any explanation as to why I
                             was not given the open Human Resources Global
                               Functions job;

                          e) Respondent has not offered any explanation as to why I
                             was not given the Human Resources for North America
                             Operations job, the position I currently held; and

                          f)    Respondent   has not offered any explanation   as to why I
                                was terminated.


C.          1.    Statutes and Basis for Allegations

                    I believe that Respondent has discriminated against me by
           subjecting me to a hostile work environment, demoting me, failing to
           promote me, failing to place me in open jobs, and terminating me because
           of my sex and/or in retaliation for complaining about sex discrimination, in
           violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
           §2000e, et seq. ("Title VII") and the Pennsylvania Human Relations Act,
            as amended,    43 P.S. §951, et seq. ("PHRA").
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               INFORMATION FOR COMPLAINANTS & ELECTION OPTION
                            TO DUAL FILE WITH THE
                   PEl\TNSYLVANIA      HUMAN RELATIONS          COMMISSION

                            Linda Pctrulio   v. Tclcflex Incorporated




 You have the right to file this charge of discrimination with the Pennsylvania Human Relations
Commission (PHRC) under the Pennsylvania Human Relations Act. Filing your charge with
PHRC     protects your state rights, especially since there may be circumstances in which state
and federal laws and procedures vary in a manner which would affect the outcome of your
case.

 Complaints filed wi th the PHRC must be filed within 180 days of the act(s) which you believe
are unlawful discrimination.   IfPH.RC determines that your PERC complaint is untimely, it
will be dismissed.

 If you want your charge filed with the PERC, including this form as part of your EEOC charge,
with your signature under the verification below, will constitute filing with the PHRC. You
have chosen     EEOC to investigate your complaint, so PERC will not investigate it and, in most
cases, will accept EEOC's finding. If you disagree with PHRC' s adoption of EEOC's finding,
you will have the chance to file a request for preliminary hearing with PHRC.

 Since you have chosen to file your charge first with EEOC, making it the primary investigatory
agency,   the Respondent will not be required to file an answer with PHRC, and no other action
with PHRC is required by either party, unless/until otherwise notified by PHRC.

  If your case is still pending with PI-J"RCafter one year from tiling with PERC, you have the
right to file your complaint in state court. PERC will inform you of these rights and
obligations at that time.
                            [Sign and date appropriate    request   below]

l    I want my charge filed with PHRC. I hereby incorporate this form and the verification
below into the attached EEOC complaint form and tile it as my PHRC complaint. I request
EEOC to transmit it to PERC.

    X    1understand that false statements in this complaint are made subject to the penalties of
 18     Pa. Cs. §4904, relating to unsworn falsification to authorities.

                                       X     ~c/~                       h~··.·
                                               Signature and Date (Linda Petrulio)      I Z _ i/-I/

                                                                                                 -.J
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           Exhibit 2
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EEOC Form '6'·8   ('1109)                  U.S.   EQUAL EMPLOYMENT           OPPORTUNITY COMMISSION

                                          NOTICE OF RIGHT TO SUE (ISSUED ON REQUEST)
                                                                                      From:    Philadelphia District Office
                                                                                               801 Market Street
                                                                                               Suite 1300
                                                                                               Philadelphia, PA 19107




     D             On behalf of person(s) aggrieved whose identity is
                   CONFIDENTIAL (29 CFR §1601. 7(a»

                                                           EEOC Representative                                          Telephone No.
EEOC Charge No.



530·2012-00877                                             Legal Unit                                                   (215) 440·2828
                                                                                    (See also the additional information enclosed with this form.)
NOTICE TO THE PERSON        AGGRIEVED:
Title VII of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GiNA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

        [!J        More than 180 days have passed since the filing of this charge.

        D           Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                    be able to complete its administrative processing within 180 days from the filing of this charge.

        [KJ         The EEOC is terminating its processing of this charge.

        D           The EEOC will continue to process this charge.
Age Discrimination   in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
        D           The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHiN
                    90 DAYS of your receipt of this Notice. otherwise, your right to sue based on the above-numbered charge will be lost.

        D           The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                    you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.


 If you file suit, based on this charge, please send a copy of your court complaint to this office.




  Enclosures(s)



  cc:             Kelli McCoy, Human Resources           Executive                      Caren N. Gurmankin, Esq.
                  TELEFLEXINC                                                           CONSOLE LAW OFFICES, LLC
                  155 S Limerick Rd                                                     1525 Locust Street, 9th Floor
                  Limerick, PA 19458                                                    Philadelphia, PA 19102
